                          Case 8:24-bk-05243-CPM              Doc 20      Filed 11/25/24      Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA


                                            PRO MEMO

                                                                  11/25/2024 02:00 PM
                                                                   COURTROOM 8B
HONORABLE CATHERINE MCEWEN
CASE NUMBER:                                                      FILING DATE:
8:24-bk-05243-CPM                          13                        09/03/2024
Chapter 13
DEBTOR:                 Xavier Washington


DEBTOR ATTY:            Kelley Petry
TRUSTEE:                Jon Waage
HEARING:
Motion to Dismiss Case with Injunction. Filed by U.S. Trustee United States Trustee - TPA7/13 7. (Dorr, Teresa) Doc #15
... - Response to United States Trustee Motion to Dismiss with Prejudice Filed by Kelley M Petry on behalf of Debtor Xavier
                       Charles Alexander Washington II (related document(s)[15]). (Petry, Kelley) Doc #19
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APPEARANCES::
AAPPEARANCES: via zoom: Kelley Petry AAPPEARANCES: in person: Teresa Dorr



RULING:
Motion to Dismiss Case with Injunction. Filed by U.S. Trustee United States Trustee - TPA7/13 7. (Dorr, Teresa) Doc #15

 ...Continued in open court to 1/22/2025 at 1:35 p.m. - no further notice will be given...

All parties may attend the hearing in person. Parties are directed to review Judge McEwens Procedures Governing Court
AAPPEARANCES: (available at https://www.flmb.uscourts.gov/judges/mcewen) for her policies and procedures for remote
attendance at hearings by video or telephone via Zoom.

... - Response to United States Trustee Motion to Dismiss with Prejudice Filed by Kelley M Petry on behalf of Debtor Xavier
Charles Alexander Washington II (related document(s)[15]). (Petry, Kelley) Doc #19



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Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Failure
to submit proposed orders before this case/adversary proceeding is closed will result in motions/objections/applications being
denied as moot. This docket entry/document is not an official order of the Court.



                                   Case Number 8:24-bk-05243-CPM                         Chapter 13
